                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE

 ATHENA LUTH, individually and on behalf
 of all others similarly situated,
                                                       Case No. ________
          Plaintiff,
                                                       Jury Demand
 v.
                                                       Class Action
 AMERICAN ADDICTION CENTERS, INC.,
          Defendant.

                                  CLASS ACTION COMPLAINT

         Plaintiff Athena Luth (“Plaintiff”), brings this Class Action Complaint against Defendant

American Addiction Centers, Inc. (“Defendant”), individually and on behalf of all others similarly

situated, and allege, upon personal knowledge as to her own actions and her counsel’s

investigation, and upon information and belief as to all other matters, as follows:

                                          INTRODUCTION

         1.      Plaintiff brings this class action against Defendant for its failure to properly secure

and safeguard the protected health information (“PHI”) and personally identifiable information

(“PII”) (together, “Private Information”) of Plaintiff and other similarly situated patients of

Defendant totaling hundreds of thousands of individuals (“Class Members”).

         2.      Failing to implement reasonable cybersecurity measures has significant

consequences for the patients whose records are leaked to cybercriminals and identity thieves.

         3.      On December 23, 2024, Defendant sent Plaintiff Luth a notice of data breach,

informing her that her Private Information was included in the Data Breach, including her name,

Social Security number, date of birth, medical record number, medical treatment information,




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      Case 3:25-cv-00023        Document 1        Filed 01/04/25      Page 1 of 33 PageID #: 1
health insurance information, address, and phone number. 1

        4.     Reportedly, Defendant was targeted by Rhysida, a well-known cybergang. 2

        5.     The Data Breach affected more than 400,000 patients from across several states in

what appears to be a double-extortion event in which the hackers steal PII and/or PHI for extortion

and identity theft and then perform a ransomware attack to encrypt and disrupt the target

company’s infrastructure.

        6.     Upon information and belief, Defendant did not discover the Data Breach until

Rhysida performed the ransomware portion of its attack, which was detected on September 26,

2024.

        7.     By that time, Rhysida had already infiltrated Defendant’s information systems,

performed the requisite reconnaissance measures, identified the to-be-stolen data, and exfiltrated

an astonishing 2.8 terabytes (a massive amount of data) all without being caught. These facts make

clear that Defendant lacked reasonable cybersecurity measures, such as appropriate logging,

monitoring, data loss prevention, and centralized alerting systems—safeguards that are designed

to identify malicious activity and timely alert administrators and engineers.

        8.     After the Data Breach, Rhysida demanded a ransom payment, or it would leak the

data to even more cybercriminals and identity thieves on the dark web.

        9.     Indeed, Defendant’s cybersecurity response appears to be deficient as well, as is

evident by the fact that it has reported conflicting numbers of affected persons, with some sources




1
 Exhibit A.
2
 Steve Adler, American Addiction Centers Ransomware Attack Affects Almost 411,000 Patients,
THE HIPAA JOURNAL (Dec. 27, 2024), https://www.hipaajournal.com/american-addiction-
centers-ransomware-attack.
                                                 2

    Case 3:25-cv-00023        Document 1       Filed 01/04/25      Page 2 of 33 PageID #: 2
identifying as many as 422,000 people affected rather than the lower number of 411,000. 3

        10.      Because of Defendant’s failures, Plaintiff and the proposed Class Members have

suffered a severe invasion of privacy and must now face a substantially increase in identity theft

and fraud for years to come.

                                                PARTIES

        11.      Plaintiff Athena Luth is a natural person and is a citizen of Hawaii.

        12.      Defendant American Addiction Centers, Inc. is a Nevada corporation with its

principal place of business located at 200 Powell Place, Brentwood, TN 37027.

                                  JURISDICTION AND VENUE

        13.      The Court has general subject matter jurisdiction over this civil action under the

Class Action Fairness Act, 28 U.S.C. § 1332(d) because the amount in controversy is easily more

than $5,000,000 and minimal diversity exists. Specifically, the Data Breach affected at least

400,000 people, so even nominal damages would meet the amount in controversy requirement.

Moreover, minimal diversity exists because Plaintiff is a citizen of Hawaii and Defendant is a

citizen of Tennessee and Nevada.

        14.      This Court has personal jurisdiction over Defendant because its headquarters and

principal place of business is in this State.

        15.      Venue is proper in this Court because Defendant’s principal place of business is in

this District.

                           ADDITIONAL FACTUAL ALLEGATIONS
        16.      The information held by Defendant in its computer systems at the time of the Data


3
  Ionut Arghire, American Addiction Centers Data Breach Impacts 422,000 People, SECURITY
WEEK (Dec. 24, 2024), https://www.securityweek.com/american-addiction-centers-data-breach-
impacts-422000-people (noting that Defendant reported one number to HHS and another number
to the Maine Attorney General).
                                                   3

    Case 3:25-cv-00023          Document 1        Filed 01/04/25     Page 3 of 33 PageID #: 3
Breach included the unencrypted Private Information of Plaintiff and Class Members.

       17.     Defendant made promises and representations to Plaintiff and Class Members that

their PHI and PII would be kept safe and confidential, and that the privacy of that information

would be maintained.

       18.     Plaintiff’s and Class Members’ Private Information was provided to Defendant

with the reasonable expectation and on the mutual understanding that Defendant would comply

with its obligations to keep such information confidential and secure from unauthorized access.

       19.     Defendant had a duty to adopt reasonable measures to protect the Private

Information of Plaintiff and Class Members from involuntary disclosure to third parties. Defendant

has a legal duty to keep consumer’s Private Information safe and confidential.

       20.     Defendant had obligations created by the Federal Trade Commission Act, 15 U.S.C.

§ 45 (“FTCA” or “FTC Act”), HIPAA, industry standards, and implicit representations made to

Plaintiff and Class Members, to keep their Private Information confidential and to protect it from

unauthorized access and disclosure.

Defendant’s Data Breach Was Imminently Foreseeable

       21.     Defendant’s data security obligations were particularly important given the

substantial increase in cyberattacks and/or data breaches targeting institutions that collect and store

Private Information, like Defendant, preceding the date of the Data Breach.

       22.     Data thieves regularly target institutions like Defendant due to the highly sensitive

information in their custody. Defendant knew and understood that unprotected Private Information

is valuable and highly sought after by criminal parties who seek to illegally monetize that Private

Information through unauthorized access.

       23.     In 2021, a record 1,862 data breaches occurred, resulting in approximately



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   Case 3:25-cv-00023          Document 1        Filed 01/04/25      Page 4 of 33 PageID #: 4
293,927,708 sensitive records being exposed, a 68% increase from 2020. 4

         24.    As a custodian of Private Information, Defendant knew, or should have known, the

importance of safeguarding the Private Information entrusted to it by Plaintiff and Class Members,

and of the foreseeable consequences if its data security systems were breached, including the

significant costs imposed on Plaintiff and Class Members because of a breach.

         25.    Despite the prevalence of public announcements of data breach and data security

compromises, Defendant failed to take appropriate steps to protect the Private Information of

Plaintiff and Class Members from being compromised.

         26.    Defendant was, or should have been, fully aware of the unique type and the

significant volume of data in its systems, amounting to potentially millions of individuals’ detailed

Private Information, and, thus, the significant number of individuals who would be harmed by the

exposure of the unencrypted data.

         27.    The injuries to Plaintiff and Class Members were directly and proximately caused

by Defendant’s failure to implement or maintain adequate data security measures for the Private

Information of Plaintiff and Class Members.

         28.    The ramifications of Defendant’s failure to keep secure the Private Information of

Plaintiff and Class Members are long lasting and severe. Once Private Information is stolen,

fraudulent use of that information and damage to victims may continue for years.

Value of Personally Identifiable Information

         29.    The Federal Trade Commission (“FTC”) defines identity theft as “a fraud

committed or attempted using the identifying information of another person without authority.”5


4
   See Identity Theft Res. Ctr., 2021 Data Breach Annual Report, at 6 (Jan. 2022),
https://notified.idtheftcenter.org/s.
5
    17 C.F.R. § 248.201 (2013).
                                                 5

      Case 3:25-cv-00023      Document 1        Filed 01/04/25      Page 5 of 33 PageID #: 5
The FTC describes “identifying information” as “any name or number that may be used, alone or

in conjunction with any other information, to identify a specific person,” including, among other

things, “[n]ame, Social Security number, date of birth, official State or government issued driver’s

license or identification number, alien registration number, government passport number,

employer or taxpayer identification number.” 6

        30.      The PII of individuals remains of high value to criminals, as evidenced by the prices

they will pay through the dark web. Numerous sources cite dark web pricing for stolen identity

credentials. 7

        31.      The information compromised in the Data Breach is even more significant because

it includes health and medical information, which extraordinarily sensitive and private and is

commonly used to perpetrate medical and insurance fraud.

        32.      This data demands a much higher price on the black market. Martin Walter, senior

director at cybersecurity firm RedSeal, explained, “Compared to credit card information,

personally identifiable information . . . [is] worth more than 10x on the black market.” 8

        33.      The fraudulent activity resulting from the Data Breach may not come to light for

years. There may be a time lag between when harm occurs versus when it is discovered, and also

between when PII is stolen and when it is used. According to the U.S. Government Accountability

Office (“GAO”), which conducted a study regarding data breaches:

        [L]aw enforcement officials told us that in some cases, stolen data may be held for
        up to a year or more before being used to commit identity theft. Further, once stolen


6
  Id.
7
  Anita George, Your Personal Data Is for Sale on The Dark Web. Here’s How Much It Costs,
DIGITAL TRENDS (Oct. 16, 2019), https://www.digitaltrends.com/computing/personal-data-sold-
on-the-dark-web-how-much-it-costs.
8
  Tim Greene, Anthem Hack: Personal Data Stolen Sells for 10x Price of Stolen Credit Card
Numbers, (Feb. 6, 2015), https://www.networkworld.com/article/2880366/anthem-hack-personal-
data-stolen-sells-for-10x-price-of-stolen-credit-card-numbers.html.
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    Case 3:25-cv-00023          Document 1       Filed 01/04/25      Page 6 of 33 PageID #: 6
       data have been sold or posted on the Web, fraudulent use of that information may
       continue for years. As a result, studies that attempt to measure the harm resulting
       from data breaches cannot necessarily rule out all future harm. 9

Defendant Failed to Comply with FTC Guidelines

       34.     The FTC has promulgated numerous guides for businesses which highlight the

importance of implementing reasonable data security practices. According to the FTC, the need

for data security should be factored into all business decision making. Indeed, the FTC has

concluded that a company’s failure to maintain reasonable and appropriate data security for

consumers’ sensitive personal information is an “unfair practice” in violation of Section 5 of the

FTCA, 15 U.S.C. § 45. See, e.g., FTC v. Wyndham Worldwide Corp., 799 F.3d 236 (3d Cir. 2015).

       35.     In October 2016, the FTC updated its publication, Protecting Personal Information:

A Guide for Business, which established cybersecurity guidelines for businesses. The guidelines

note that businesses should protect the personal consumer information they keep, properly dispose

of personal information that is no longer needed, encrypt information stored on computer

networks, understand their network’s vulnerabilities, and implement policies to correct any

security problems. The guidelines also recommend that businesses use an intrusion detection

system to expose a breach as soon as it occurs, monitor all incoming traffic for activity indicating

someone is attempting to hack into the system, watch for large amounts of data being transmitted

from the system, and have a response plan ready in the event of a breach.

       36.     The FTC further recommends that companies not maintain PII longer than is

needed for authorization of a transaction, limit access to sensitive data, require complex passwords

to be used on networks, use industry-tested methods for security, monitor the network for




9
 Report to Congressional Requesters, GAO, at 29 (June 2007), https://www.gao.gov/assets/gao-
07-737.pdf.
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    Case 3:25-cv-00023        Document 1       Filed 01/04/25      Page 7 of 33 PageID #: 7
suspicious activity, and verify that third-party service providers have implemented reasonable

security measures.

       37.       The FTC has brought enforcement actions against businesses for failing to

adequately and reasonably protect consumer data by treating the failure to employ reasonable and

appropriate measures to protect against unauthorized access to confidential consumer data as an

unfair act or practice prohibited by the FTC Act. Orders resulting from these actions further clarify

the measures businesses must take to meet their data security obligations.

       38.       As evidenced by the Data Breach, Defendant failed to properly implement basic

data security practices and failed to audit, monitor, or ensure the integrity of its data security

practices, or to appropriately prepare to face a data breach and respond to it in a timely manner.

Defendant’s failure to employ reasonable and appropriate measures to protect against unauthorized

access to Plaintiff’s and Class Members’ PII/PHI constitutes an unfair act or practice prohibited

by Section 5 of the FTC Act.

       39.       Defendant was at all times fully aware of its obligation to protect the PII/PHI of

consumers under the FTC Act yet failed to comply with such obligations. Defendant was also

aware of the significant repercussions that would result from its failure to do so. Accordingly,

Defendant’s conduct was particularly unreasonable given the nature and amount of PII it obtained

and stored and the foreseeable consequences of the immense damages that would result to Plaintiff

and the Class.

Defendant Failed to Comply with HIPAA

       40.       Defendant is a covered entity under HIPAA (45 C.F.R. § 160.102) and is required

to comply with the HIPAA Privacy Rule and Security Rule, 45 C.F.R. Part 160 and Part 164,

Subparts A and E (“Standards for Privacy of Individually Identifiable Health Information”), and



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   Case 3:25-cv-00023          Document 1       Filed 01/04/25      Page 8 of 33 PageID #: 8
Security Rule (“Security Standards for the Protection of Electronic Protected Health

Information”), 45 C.F.R. Part 160 and Part 164, Subparts A and C.

       41.      Defendant is subject to the rules and regulations for safeguarding electronic forms

of medical information pursuant to the Health Information Technology Act (“HITECH”). See 42

U.S.C. § 17921, 45 C.F.R. § 160.103.

       42.      HIPAA’s Privacy Rule or Standards for Privacy of Individually Identifiable Health

Information establishes national standards for the protection of health information.

       43.      HIPAA’s Privacy Rule or Security Standards for the Protection of Electronic

Protected Health Information establishes a national set of security standards for protecting health

information that is kept or transferred in electronic form.

       44.      HIPAA requires “comply[iance] with the applicable standards, implementation

specifications, and requirements” of HIPAA “with respect to electronic protected health

information.” 45 C.F.R. § 164.302.

       45.      “Electronic protected health information” is “individually identifiable health

information … that is (i) transmitted by electronic media; maintained in electronic media.” 45

C.F.R. § 160.103.

       46.      HIPAA’s Security Rule requires defendants to do the following:

             a. Ensure the confidentiality, integrity, and availability of all electronic protected

                health information the covered entity or business associate creates, receives,

                maintains, or transmits;

             b. Protect against any reasonably anticipated threats or hazards to the security or

                integrity of such information;

             c. Protect against any reasonably anticipated uses or disclosures of such information



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   Case 3:25-cv-00023          Document 1        Filed 01/04/25    Page 9 of 33 PageID #: 9
                 that are not permitted; and

             d. Ensure compliance by its workforce.

       47.       HIPAA also requires Defendant to “review and modify the security measures

implemented . . . as needed to continue provision of reasonable and appropriate protection of

electronic protected health information.” 45 C.F.R. § 164.306(e). Additionally, Defendant is

required under HIPAA to “[i]implement technical policies and procedures for electronic

information systems that maintain electronic protected health information to allow access only to

those persons or software programs that have been granted access rights.” 45 C.F.R. §

164.312(a)(1).

       48.       HIPAA and HITECH also obligated Defendant to implement policies and

procedures to prevent, detect, contain, and correct security violations, and to protect against uses

or disclosures of electronic protected health information that are reasonably anticipated but not

permitted by the privacy rules. See 45 C.F.R. § 164.306(a)(1) and § 164.306(a)(3); see also 42

U.S.C. §17902.

       49.       The HIPAA Breach Notification Rule, 45 C.F.R. §§ 164.400–414, also requires

Defendant to provide notice of the Data Breach to each affected individual “without unreasonable

delay and in no case later than 60 days following discovery of the breach.”

       50.       HIPAA requires a covered entity to have and apply appropriate sanctions against

members of its workforce who fail to comply with the privacy policies and procedures of the

covered entity or the requirements of 45 C.F.R. Pt. 164, Subparts D or E. See 45 C.F.R. §

164.530(e).

       51.       HIPAA requires a covered entity to mitigate, to the extent practicable, any harmful

effect that is known to the covered entity of a use or disclosure of protected health information in



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  Case 3:25-cv-00023          Document 1       Filed 01/04/25     Page 10 of 33 PageID #: 10
violation of its policies and procedures or the requirements of 45 C.F.R. Part 164, Subpart E by

the covered entity or its business associate. See 45 C.F.R. § 164.530(f).

         52.   HIPAA also requires the Office of Civil Rights (“OCR”), within the Department of

Health and Human Services (“HHS”), to issue annual guidance documents on the provisions in

the HIPAA Security Rule. See 45 C.F.R. §§ 164.302–164.318. For example, “HHS has developed

guidance and tools to assist HIPAA covered entities in identifying and implementing the most cost

effective and appropriate administrative, physical, and technical safeguards to protect the

confidentiality, integrity, and availability of e-PHI and comply with the risk analysis requirements

of the Security Rule.” US Department of Health & Human Services, Security Rule Guidance

Material. The list of resources includes a link to guidelines set by the National Institute of

Standards and Technology (NIST), which OCR says “represent the industry standard for good

business practices with respect to standards for securing e-PHI.” US Department of Health &

Human Services, Guidance on Risk Analysis.

         53.   Defendant was at all times fully aware of its HIPAA obligations to protect the PHI

of consumers yet failed to comply with such obligations. Defendant was also aware of the

significant repercussions that would result from its failure to do so. Accordingly, Defendant’s

conduct was particularly unreasonable given the nature and amount of PHI it obtained and stored

and the foreseeable consequences of the immense damages that would result to Plaintiffs and the

Class.

Defendant Failed to Comply with Industry Standards.

         54.   Experts studying cybersecurity routinely identify institutions that store Private

Information like Defendant as being particularly vulnerable to cyberattacks because of the value

of the Private Information which they collect and maintain.



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  Case 3:25-cv-00023        Document 1        Filed 01/04/25      Page 11 of 33 PageID #: 11
       55.     Some industry best practices that should be implemented by institutions dealing

with sensitive Private Information, like Defendant, include, but are not limited to: educating all

employees, strong password requirements, multilayer security including firewalls, anti-virus and

anti-malware software, encryption, multi-factor authentication, backing up data, implementing

reasonable systems to identify malicious activity, implementing reasonable governing policies,

and limiting which employees can access sensitive data. As evidenced by the Data Breach and its

timeline, Defendant failed to follow some or all these industry best practices.

       56.     Other best cybersecurity practices that are standard at large institutions that store

Private Information include: installing appropriate malware detection software; monitoring and

limiting network ports; protecting web browsers and email management systems; setting up

network systems such as firewalls, switches, and routers; monitoring and protecting physical

security systems; and training staff regarding these points.

       57.     Defendant failed to meet the minimum standards of any of the following

frameworks: the NIST Cybersecurity Framework Version 2.0 (including without limitation

PR.AA-01, PR.AA.-02, PR.AA-03, PR.AA-04, PR.AA-05, PR.AT-01, PR.DS-01, PR-DS-02,

PR.DS-10, PR.PS-01, PR.PS-02, PR.PS-05, PR.IR-01, DE.CM-01, DE.CM-03, DE.CM-06,

DE.CM-09, and RS.CO-04), and the Center for Internet Security’s Critical Security Controls (CIS

CSC), which are all established standards in reasonable cybersecurity readiness.

       58.     Defendant failed to comply with these accepted standards, thereby permitting the

Data Breach to occur.

Common Injuries & Damages

       59.     Because of Defendant’s ineffective and inadequate data security practices, the Data

Breach, and the foreseeable consequences of Private Information ending up in the possession of



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  Case 3:25-cv-00023         Document 1       Filed 01/04/25      Page 12 of 33 PageID #: 12
criminals, the risk of identity theft to the Plaintiff and Class Members has materialized and is

imminent, and Plaintiff and Class Members have all sustained actual injuries and damages,

including: (a) invasion of privacy; (b) loss of time and loss of productivity incurred mitigating the

materialized risk and imminent threat of identity theft risk; (c) the loss of benefit of the bargain

(price premium damages); and (d) the continued risk to their Private Information, which remains

in the possession of Defendant, and which is subject to further breaches, so long as Defendant fails

to undertake appropriate and adequate measures to protect Plaintiff’s and Class Members’ Private

Information.

The Data Breach Increases Victims’ Risk of Identity Theft and Fraud

       60.     Plaintiff and Class Members are at a heightened risk of identity theft for years to

come, especially because Defendant’s failures resulted in Plaintiff’s and Class Members’ Private

Information falling into the hands of identity thieves.

       61.     The unencrypted Private Information of Class Members has already or will end up

for sale on the dark web because that is the modus operandi of hackers. Indeed, when these

criminals do not post the data to the dark web, it is usually at least sold on private Telegram

channels to even further identity thieves who purchase the Private Information for the express

purpose of conducting financial fraud and identity theft operations.

       62.     Further, the standard operating procedure for cybercriminals is to use some data,

like the PHI here, to access “fullz packages” of that person to gain access to the full suite of

additional PHI that those cybercriminals have access through other means. Using this technique,

identity thieves piece together full pictures of victim’s information to perpetrate even more types




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  Case 3:25-cv-00023         Document 1       Filed 01/04/25      Page 13 of 33 PageID #: 13
of attacks. 10

         63.     With “Fullz” packages, cyber-criminals can cross-reference two sources of Private

Information to marry unregulated data available elsewhere to criminally stolen data with an

astonishingly complete scope and degree of accuracy to assemble complete dossiers on

individuals.

         64.     The development of “Fullz” packages means here that the stolen Private

Information from the Data Breach can easily be used to link and identify it to Plaintiff’s and Class

Members’ phone numbers, email addresses, and other unregulated sources and identifiers. In other

words, even if certain information such as emails, phone numbers, or credit card numbers may not

be included in the Private Information that was exfiltrated in the Data Breach, criminals may still

easily create a Fullz package and sell it at a higher price to unscrupulous operators and criminals

(such as illegal and scam telemarketers) over and over.

Loss of Time to Mitigate Risk of Identity Theft and Fraud

         65.     Because of the recognized risk of identity theft, when a data breach occurs, and an

individual is notified by a company that their Private Information was compromised, as in this




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   “Fullz” is fraudster speak for data that includes the information of the victim, including, but not
limited to, the name, address, credit card information, social security number, date of birth, and
more. As a rule of thumb, the more information you have on a victim, the more money that can be
made off those credentials. Fullz are usually pricier than standard credit card credentials,
commanding up to $100 per record (or more) on the dark web. Fullz can be cashed out (turning
credentials into money) in various ways, including performing bank transactions over the phone
with the required authentication details in-hand. Even “dead Fullz,” which are Fullz credentials
associated with credit cards that are no longer valid, can still be used for numerous purposes,
including tax refund scams, ordering credit cards on behalf of the victim, or opening a “mule
account” (an account that will accept a fraudulent money transfer from a compromised account)
without the victim’s knowledge. See, e.g., Brian Krebs, Medical Records for Sale in Underground
Stolen from Texas Life Insurance Firm, Krebs on Security (Sep. 18, 2014),
https://krebsonsecuritv.com/2014/09/medical-records-for-sale-in-underground-stolen-from-
texas-life-insurance-firm.
                                                 14

     Case 3:25-cv-00023       Document 1       Filed 01/04/25      Page 14 of 33 PageID #: 14
Data Breach, the reasonable person is expected to take steps and spend time to address the

dangerous situation, learn about the breach, and otherwise mitigate the risk of becoming a victim

of identity theft of fraud. Failure to spend time taking steps to review accounts or credit reports

could expose the individual to greater financial harm and a Defendant arguing that the individual

failed to mitigate damages.

          66.   The need to spend time mitigating the risk of harm is especially important in cases

like this where Plaintiff’s and Class Members’ Private Information is affected because such

information is commonly used to commit medical and insurance fraud.

          67.   By spending this time, data breach Plaintiff is not manufacturing her own harm but

is taking necessary steps at Defendant’s direction and because the Data Breach included her Private

Information.

          68.   Plaintiff and Class Members have spent, and will spend additional time in the

future, on a variety of prudent actions to remedy the harms they have or may experience because

of the Data Breach, such as contacting credit bureaus to place freezes on their accounts; changing

passwords and re-securing their own computer networks; and checking their financial accounts

and health insurance statements for any indication of fraudulent activity, which may take years to

detect.

          69.   These efforts are consistent with the U.S. Government Accountability Office that

released a report in 2007 regarding data breaches (“GAO Report”) in which it noted that victims

of identity theft will face “substantial costs and time to repair the damage to their good name and

credit record.” 11



11
   See U.S. Gov’t Office, GAO-07-737, Personal Information: Data Breaches Are Frequent, but
Evidence of Resulting Identity Theft Is Limited; However, the Full Extent Is Unknown (June 2007),
https://www.gao.gov/new.items/d07737.pdf.
                                                15

     Case 3:25-cv-00023       Document 1      Filed 01/04/25     Page 15 of 33 PageID #: 15
          70.    These efforts are also consistent with the steps that FTC recommends that data

breach victims take to protect their personal and financial information after a data breach,

including: contacting one of the credit bureaus to place a fraud alert (and considering an extended

fraud alert that lasts for seven years if someone steals their identity), reviewing their credit reports,

contacting companies to remove fraudulent charges from their accounts, placing a credit freeze on

their credit, and correcting their credit reports. 12

The Future Cost of Credit and Identity Theft Monitoring Is Reasonable and Necessary

          71.    Based on the value of the information stolen, the data either has or will be sold to

cybercriminals whose mission it is to perpetrate identity theft and fraud. Even if the data is not

posted online, these data are ordinarily sold and transferred through private Telegram channels

wherein thousands of cybercriminals participate in a market for such data so that they can misuse

it and earn money from financial fraud and identity theft of data breach victims.

          72.    Such fraud may go undetected for years; consequently, Plaintiff and Class Members

are at a present and continuous risk of fraud and identity theft for many years into the future.

          73.    The retail cost of credit monitoring and identity theft monitoring can cost $200 or

more per year per Class Member. This is a reasonable and necessary cost to monitor and protect

Class Members from the risk of identity theft that arose from the Data Breach. This is a future cost

for a minimum of seven years that Plaintiff and Class Members would not need to bear but for

Defendant’s failure to safeguard their Private Information.

Plaintiff’s Experience

          74.    Plaintiff provided her Private Information to Defendant as a condition of receiving

healthcare service from Defendant.



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     See Fed. Trade Comm’n, Identity Theft.gov, https://www.identitytheft.gov/Steps.
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     Case 3:25-cv-00023        Document 1        Filed 01/04/25      Page 16 of 33 PageID #: 16
        75.      Plaintiff received notice from Defendant that she was affected by the Data Breach.

        76.      At the time of the Data Breach, Defendant retained Plaintiff’s Private Information

in its system.

        77.      Plaintiff’s Private Information was compromised in the Data Breach and stolen by

cybercriminals who illegally accessed Defendant’s network for the specific purpose of targeting

Private Information.

        78.      Because of the Data Breach, Plaintiff has suffered a loss of time, interference, and

inconvenience because of the Data Breach. Plaintiff has also experienced stress and anxiety due to

increased concerns for the loss of her privacy and because of the uncertainty of her finances given

the substantial increase in financial and identity theft and fraud she must now face for years to

come.

        79.      Plaintiff has suffered imminent and impending injury arising from the substantially

increased risk of fraud, identity theft, and misuse resulting from her Private Information being

placed in the hands of the very people whose mission it is to use that data to steal Plaintiff’s identity

and to attempt financial fraud.

        80.      Moreover, the breach of her health information exposes Plaintiff and the Class to a

significantly increased risk of medical and health insurance fraud.

        81.      Critically, the breach of this type of Private Information represents a brazen

invasion of privacy, which is a harm long recognized in American courts.

                                     CLASS ALLEGATIONS

        82.      Plaintiff brings this action on behalf of herself and on behalf of all members of the

proposed class defined as:

        All individuals whose Private Information was compromised in the Data Breach
        (“Class”).

                                                   17

  Case 3:25-cv-00023          Document 1        Filed 01/04/25       Page 17 of 33 PageID #: 17
       83.     Excluded from the Class are the following individuals and/or entities: Defendant

and Defendant’s parents, subsidiaries, affiliates, officers and directors, and any entity in which

Defendant has a controlling interest; all individuals who make a timely election to be excluded

from this proceeding using the correct protocol for opting out; and all judges assigned to hear any

aspect of this litigation, as well as their immediate family members.

       84.     Plaintiff reserves the right to amend the definition of the proposed Class or to add

a subclass before the Court determines whether certification is appropriate.

       85.     The proposed Class meets the criteria certification under Federal Rule of Civil

Procedure 23(a), (b)(1), (b)(2), and (b)(3).

       86.     Numerosity. The Class Members are so numerous that joinder of all members is

impracticable. Upon information and belief, Plaintiff believes the proposed Class includes

hundreds of thousands of individuals who have been damaged by Defendant’s conduct as alleged

herein. The precise number of Class Members is unknown to Plaintiff but may be ascertained from

Defendant’s records.

       87.     Commonality. There are questions of law and fact common to the Class which

predominate over any questions affecting only individual Class Members. These common

questions of law and fact include, without limitation:

               •   Whether Defendant engaged in the conduct alleged herein;

               •   Whether Defendant’s conduct violated the FTC Act and HIPAA;

               •   When Defendant learned of the Data Breach;

               •   Whether Defendant failed to implement and maintain reasonable security

                   procedures and practices appropriate to the nature and scope of the Private

                   Information compromised in the Data Breach;

                                                 18

  Case 3:25-cv-00023         Document 1        Filed 01/04/25    Page 18 of 33 PageID #: 18
          •   Whether Defendant’s data security systems prior to and during the Data Breach

              complied with applicable data security laws and regulations;

          •   Whether Defendant’s data security systems, prior to and during the Data

              Breach, were consistent with industry standards;

          •   Whether Defendant owed duties to Class Members to safeguard her Private

              Information;

          •   Whether Defendant breached her duties to Class Members to safeguard her

              Private Information;

          •   Whether hackers obtained Class Members’ Private Information via the Data

              Breach;

          •   Whether Defendant had a legal duty to provide timely and accurate notice of

              the Data Breach to Plaintiff and Class Members;

          •   Whether Defendant breached its duty to provide timely and accurate notice of

              the Data Breach to Plaintiff and Class Members;

          •   Whether Defendant knew or should have known its data security systems and

              monitoring processes were deficient;

          •   What damages Plaintiff and Class Members suffered as a result of Defendant’s

              misconduct;

          •   Whether Defendant’s conduct was negligent;

          •   Whether Defendant breached contracts it had with its clients, which were made

              expressly for the benefit of Plaintiff and Class Members;

          •   Whether Plaintiff and Class Members are entitled to damages;

          •   Whether Plaintiff and Class Members are entitled to additional credit or identity


                                           19

Case 3:25-cv-00023      Document 1       Filed 01/04/25     Page 19 of 33 PageID #: 19
                    monitoring and monetary relief; and among other things,

                •   Whether Plaintiff and Class Members are entitled to equitable relief, including

                    injunctive relief, restitution, disgorgement, and/or the establishment of a

                    constructive trust.

        88.     Typicality. Plaintiff’s claims are typical of those of other Class Members because

Plaintiff’s Private Information, like that of every other Class Member, was compromised in the

Data Breach. Plaintiff’s claims are typical of those of the other Class Members because, inter alia,

all Class Members were injured through the common misconduct of Defendant. Plaintiff is

advancing the same claims and legal theories on behalf of themselves and all other Class Members,

and there are no defenses that are unique to Plaintiff. The claims of Plaintiff and those of Class

Members arise from the same operative facts and are based on the same legal theories.

        89.     Adequacy of Representation. Plaintiff will fairly and adequately represent and

protect the interests of Class Members. Plaintiff’s counsel is competent and experienced in

litigating class actions, including data privacy litigation of this kind.

        90.     Predominance. Defendant has engaged in a common course of conduct toward

Plaintiff and Class Members. For example, all of Plaintiff’s and Class Members’ data was stored

on the same computer systems and unlawfully accessed and exfiltrated in the same way. The

common issues arising from Defendant’s conduct affecting Class Members set out above

predominate over any individualized issues. Adjudication of these common issues in a single

action has important and desirable advantages of judicial economy.

        91.     Superiority. A class action is superior to other available methods for the fair and

efficient adjudication of this controversy and no unusual difficulties are likely to be encountered

in the management of this class action. Class treatment of common questions of law and fact is



                                                  20

  Case 3:25-cv-00023          Document 1        Filed 01/04/25       Page 20 of 33 PageID #: 20
superior to multiple individual actions or piecemeal litigation. Absent a class action, most Class

Members would likely find that the cost of litigating her individual claims is prohibitively high

and would therefore have no effective remedy. The prosecution of separate actions by individual

Class Members would create a risk of inconsistent or varying adjudications with respect to

individual Class Members, which would establish incompatible standards of conduct for

Defendant. In contrast, conducting this action as a class action presents far fewer management

difficulties, conserves judicial resources and the parties’ resources, and protects the rights of each

Class Member.

       92.     Class certification is also appropriate. Defendant has acted and/or refused to act on

grounds generally applicable to the Class such that final injunctive relief and/or corresponding

declaratory relief is appropriate as to the Class as a whole.

       93.     Finally, all members of the proposed Class are readily ascertainable. Defendant has

access to the names and addresses and/or email addresses of Class Members affected by the Data

Breach, as is evident by Defendant’s ability to send those individuals notification letters.

                                     CLAIMS FOR RELIEF

                                        COUNT I
                        NEGLIGENCE AND NEGLIGENCE PER SE
                           (On Behalf of Plaintiff and the Class)

       94.     Plaintiff incorporates the above allegations as if fully set forth herein.

       95.     Plaintiff and Class Members provided their non-public Private Information to

Defendant as a condition of receiving healthcare services.

       96.     Defendant had full knowledge of the sensitivity of the Private Information and the

types of harm that Plaintiff and Class Members could and would suffer if the Private Information

were wrongfully disclosed.



                                                 21

  Case 3:25-cv-00023         Document 1        Filed 01/04/25      Page 21 of 33 PageID #: 21
           97.    By assuming the responsibility to collect and store this data, Defendant had duties

of care to use reasonable means to secure and to prevent disclosure of the information, and to

safeguard the information from theft.

           98.    Defendant had duties to employ reasonable security measures under Section 5 of

the FTCA, 15 U.S.C. § 45, which prohibits “unfair . . . practices in or affecting commerce,”

including, as interpreted and enforced by the FTC, the unfair practice of failing to use reasonable

measures to protect confidential data.

           99.    Defendant’s duty to use reasonable security measures also arose under the common

law, and as informed by the FTC Act and HIPAA, which mandates that Defendant implement

reasonable cybersecurity measures.

           100.   Defendant owed a duty of care to Plaintiff and Class Members to provide data

security consistent with industry standards and other requirements discussed herein, and to ensure

that its systems and networks, and the personnel responsible for them, adequately protected the

Private Information.

           101.   Moreover, Defendant had a duty to promptly and adequately notify Plaintiff and

Class Members of the Data Breach.

           102.   Defendant had and continues to have duties to adequately disclose that the Private

Information of Plaintiff and Class Members within Defendant’s possession might have been

compromised, how it was compromised, and precisely the types of data that were compromised

and when. Such notice is necessary to allow Plaintiff and Class Members to take steps to prevent,

mitigate, and repair any identity theft and the fraudulent use of their Private Information by third

parties.

           103.   Defendant breached its duties, pursuant to the FTC Act, HIPAA, and other



                                                  22

  Case 3:25-cv-00023           Document 1       Filed 01/04/25     Page 22 of 33 PageID #: 22
applicable standards, and thus was negligent, by failing to use reasonable measures to protect Class

Members’ PHI and PII. The specific negligent acts and omissions committed by Defendant

include, but are not limited to, the following:

           •   Failing to adopt, implement, and maintain adequate security measures to safeguard

               Class Members’ Private Information;

           •   Allowing unauthorized access to Class Members’ Private Information;

           •   Failing to remove Plaintiff’s and Class Members’ Private Information it was no

               longer required to retain pursuant to regulations; and

           •   Failing to implement a reasonable cybersecurity incident response plan that would

               have enabled Defendant to timely and adequately notify Class Members about the

               Data Breach’s occurrence and scope, so they could take appropriate steps to

               mitigate the potential for identity theft and other damages.

       104.    Defendant’s conduct was particularly unreasonable given the nature and amount of

PHI it obtained and stored and the foreseeable consequences of the immense damages that would

result to Plaintiff and Class Members.

       105.    Defendant’s violation of the FTC Act and HIPAA also constitutes negligence per

se, as those provisions are designed to protect individuals like Plaintiff and the proposed Class

Members from the harms associated with data breaches.

       106.    Defendant has admitted that the Private Information of Plaintiff and Class Members

was wrongfully lost and disclosed to unauthorized third persons because of the Data Breach.

       107.    But for Defendant’s wrongful and negligent breaches of duties owed to Plaintiff

and Class Members, the Private Information of Plaintiff and Class Members would not have been

compromised.


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  Case 3:25-cv-00023         Document 1           Filed 01/04/25   Page 23 of 33 PageID #: 23
       108.    There is a close causal connection between Defendant’s failure to implement

security measures to protect the Private Information of Plaintiff and Class Members and the harm,

or risk of imminent harm, suffered by Plaintiff and Class Members. The Private Information of

Plaintiff and Class Members was lost and accessed as the proximate result of Defendant’s failure

to exercise reasonable care in safeguarding such Private Information by adopting, implementing,

and maintaining appropriate security measures.

       109.    As a direct and proximate result of Defendant’s conduct, Plaintiff and Class

Members have suffered and will suffer injury, including but not limited to: (i) invasion of privacy;

(ii) theft of their Private Information; (iii) lost time and opportunity costs associated with

attempting to mitigate the actual consequences of the Data Breach; (iv) lost opportunity costs

associated with attempting to mitigate the actual consequences of the Data Breach; (v)

experiencing an increase in spam calls, texts, and/or emails; (vi) statutory damages; (vii) nominal

damages; and (viii) the continued and certainly increased risk to their PHI, which: (a) remains

unencrypted and available for unauthorized third parties to access and abuse; and (b) remains

backed up in Defendant’s possession and is subject to further unauthorized disclosures so long as

Defendant fails to undertake appropriate and adequate measures to protect the Private Information.

       110.    As a direct and proximate result of Defendant’s negligence and negligence per se,

Plaintiff and the Class have suffered and will continue to suffer other forms of injury and/or harm,

including, but not limited to, anxiety, emotional distress, loss of privacy, and other economic and

non-economic losses.

       111.    Additionally, as a direct and proximate result of Defendant’s negligence and

negligence per se, Plaintiff and the Class have suffered and will suffer the continued risks of

exposure of their Private Information, which remain in Defendant’s possession and is subject to



                                                 24

  Case 3:25-cv-00023        Document 1        Filed 01/04/25      Page 24 of 33 PageID #: 24
further unauthorized disclosures so long as Defendant fail to undertake appropriate and adequate

measures to protect the Private Information in its continued possession.

       112.    Plaintiff and Class Members are therefore entitled to damages, including restitution

and unjust enrichment, declaratory and injunctive relief, and attorneys’ fees, costs, and expenses.

       113.    Given Defendant’s failures to implement the proper systems, as defined above,

even knowing the ubiquity of the threat of data breaches, Defendant’s decision not to invest enough

resources in its cyber defenses amounts to gross negligence.

                                          COUNT II
                             BREACH OF IMPLIED CONTRACT
                              (On Behalf of Plaintiff and the Class)

       114.    Plaintiff incorporates the above allegations as if fully set forth herein.

       115.    Plaintiff and the proposed Class Members transferred their Private Information to

Defendant as part of receiving health services.

       116.    Plaintiff and Class Members conferred a monetary benefit on Defendant.

Specifically, they provided Defendant with their Private Information. In exchange, Defendant

should have provided adequate data security for Plaintiff and Class Members and implicitly agreed

to do so.

       117.    Defendant knew that Plaintiff and Class Members conferred a benefit on it in the

form their PHI as a necessary part of receiving healthcare.

       118.    Defendant, however, failed to secure Plaintiff and Class Members’ Private

Information and, therefore, did not provide adequate data security in return for the benefit Plaintiff

and Class Members provided.

       119.    If Plaintiff and Class Members knew that Defendant had not reasonably secured

their PHI, they would not have allowed it to be provided to Defendant.



                                                  25

  Case 3:25-cv-00023         Document 1        Filed 01/04/25      Page 25 of 33 PageID #: 25
       120.    As a direct and proximate result of Defendant’s conduct, Plaintiff and Class

Members have suffered and will suffer injury, including but not limited to: (i) invasion of privacy;

(ii) theft of their Private Information; (iii) lost time and opportunity costs associated with

attempting to mitigate the actual consequences of the Data Breach; (iv) lost opportunity costs

associated with attempting to mitigate the actual consequences of the Data Breach; (v)

experiencing an increase in spam calls, texts, and/or emails; (vi) statutory damages; (vii) nominal

damages; and (viii) the continued and certainly increased risk to their Private Information, which:

(a) remains unencrypted and available for unauthorized third parties to access and abuse; and (b)

remains backed up in Defendant’s possession and is subject to further unauthorized disclosures so

long as Defendant fails to undertake appropriate and adequate measures to protect the Private

Information.

                                          COUNT III
                              BREACH OF CONFIDENTIALITY
                              (On Behalf of Plaintiff and the Class)

       121.    Plaintiff incorporates the above allegations as if fully set forth herein.

       122.    Plaintiff and Class Members conferred a benefit upon Defendant in the form of

Private Information provided to Defendant, along with payment, as a condition of receiving

healthcare services.

       123.    Defendant had a duty of confidentiality to its patients and those for whom it

collected and stored protected health information to keep that information in confidence, including

to protect it using reasonable cybersecurity measures.

       124.    Defendant breached that duty of confidentiality to Plaintiff and the Class Members

by failing to use reasonable care to protect the confidential information it collected about Plaintiff

and the Class Members.



                                                 26

  Case 3:25-cv-00023         Document 1        Filed 01/04/25      Page 26 of 33 PageID #: 26
       125.    Because of Defendant’s failures to protect the confidentiality such PII and PHI,

Plaintiff and the Class Members have suffered a gross invasion of their privacy and must now face

a substantial increase in identity theft, financial fraud, and medical fraud for years to come.

                                          COUNT IV
                                  BREACH OF BAILMENT
                              (On Behalf of Plaintiff and the Class)

       126.    Plaintiff incorporates the above allegations as if fully set forth herein.

       127.    Plaintiff conveyed her Private Information to Defendant lawfully as a condition of

receiving health services with the understanding that Defendant would return or delete her Private

Information when it was no longer required.

       128.    Defendant accepted this Private Information on the implied understanding that

Defendant would honor its obligations under federal regulations, state law, and industry standards

to safeguard Plaintiff’s Private Information and act on the Private Information only within the

confines of the purposes for which Defendant collected Plaintiff’s Private Information.

       129.    By accepting Plaintiff’s data and storing it on its systems, Defendant had exclusive

control over the privacy of Plaintiff’s data in that Plaintiff had no control over whether Defendant’s

copy of Plaintiff’s Private Information was protected with sufficient safeguards and indeed only

Defendant had that control.

       130.    By failing to implement reasonable cybersecurity safeguards, as detailed above,

Defendant breached this bailment agreement causing harm to Plaintiff in the form of violations of

her right to privacy and to self-determination of who had/has access to her Private Information, in

the form of requiring her to spend her own valuable time responding to Defendant’s failures, and

in the form of forcing Plaintiff and the Class to face years of substantially increased risk of identity

theft and financial fraud.



                                                  27

  Case 3:25-cv-00023          Document 1        Filed 01/04/25      Page 27 of 33 PageID #: 27
                                           COUNT V
                                  INVASION OF PRIVACY
                              (On Behalf of Plaintiff and the Class)

       131.    Plaintiff incorporates the above allegations as if fully set forth herein.

       132.    Plaintiff and Class members took reasonable and appropriate steps to keep their

Private Information confidential from the public.

       133.    Plaintiff’s and Class members’ efforts to safeguard their own Private Information

were successful, as their Private Information was not known to the public prior to the Data Breach.

       134.    Plaintiff and Class members had a legitimate expectation of privacy to their Private

Information and were entitled to the protection of this information against disclosure to

unauthorized third parties.

       135.    Defendant owed a duty to its patients, including Plaintiff and the proposed Class

Members, to keep their Private Information confidential.

       136.    The unauthorized release of Private Information is highly offensive to any

reasonable person.

       137.    Plaintiff’s and Class members’ Private Information is not of legitimate concern to

the public.

       138.    Defendant knew or should have known that Plaintiff’s and Class members’ Private

Information was private.

       139.    Defendant publicized Plaintiff’s and Class Members’ Private Information, by

allowing it to be disclosed to cybercriminals who had no legitimate interest in this Private

Information and who had the express purpose of monetizing that information by injecting it into

the illicit stream of commerce flowing through the dark web and other malicious channels of

communication (e.g., Telegram and Signal).

       140.    Moreover, because of the ubiquitous nature of data breaches, especially in the
                                                 28

  Case 3:25-cv-00023          Document 1       Filed 01/04/25      Page 28 of 33 PageID #: 28
healthcare industry, Defendant was substantially certain that a failure to protect Private

Information would lead to its disclosure to unauthorized third parties, including the thousands of

waiting identity thieves who are in a special relationship to Plaintiff and the proposed Class

Members—in that those identity thieves are precisely the individuals whose aim it is to misuse

such Private Information.

       141.     Unless and until enjoined, and restrained by order of this Court, Defendant’s

wrongful conduct will continue to cause great and irreparable injury to Plaintiff and Class

Members in that Defendant’s inadequate data security measures will likely result in additional data

breaches. Plaintiff and Class members have no adequate remedy at law for the injuries that they

will sustain in that a judgment for monetary damages will not prevent further invasions of the

Plaintiff’s and Class members’ privacy by Defendant.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, on behalf of herself and all Class Members, requests judgment

against Defendant and that the Court grant the following:

           A.    For an Order certifying this action as a class action and appointing Plaintiff and

                 her counsel to represent the Class;

           B.    For equitable relief enjoining Defendant from engaging in the wrongful conduct

                 complained of herein pertaining to the misuse and/or disclosure of Plaintiff’s and

                 Class Members’ Private Information, and from refusing to issue prompt,

                 complete, and accurate disclosures to Plaintiff and Class Members;

           C.    For injunctive relief requested by Plaintiff, including, but not limited to, injunctive

                 and other equitable relief as is necessary to protect the interests of Plaintiff and

                 Class Members, including but not limited to an order:



                                                  29

  Case 3:25-cv-00023         Document 1        Filed 01/04/25       Page 29 of 33 PageID #: 29
             i.      prohibiting Defendant from engaging in the wrongful and unlawful acts

                     described herein;

             ii.     requiring Defendant to protect, including through encryption, all data

                     collected through the course of its business in accordance with all

                     applicable regulations, industry standards, and federal, state, or local

                     laws;

             iii.    requiring Defendant to delete, destroy, and purge the personal

                     identifying information of Plaintiff and Class Members unless

                     Defendant can provide to the Court reasonable justification for the

                     retention and use of such information when weighed against the privacy

                     interests of Plaintiff and Class Members;

             iv.     requiring Defendant to implement and maintain a comprehensive

                     Information Security Program designed to protect the confidentiality

                     and integrity of the Private Information of Plaintiff and Class Members;

             v.      prohibiting Defendant from maintaining the Private Information of

                     Plaintiff and Class Members on a cloud-based database;

             vi.     requiring Defendant to engage independent third-party security

                     auditors/penetration testers as well as internal security personnel to

                     conduct testing, including simulated attacks, penetration tests, and

                     audits on Defendant’s systems on a periodic basis, and ordering

                     Defendant to promptly correct any problems or issues detected by such

                     third-party security auditors;




                                           30

Case 3:25-cv-00023     Document 1        Filed 01/04/25    Page 30 of 33 PageID #: 30
             vii.    requiring Defendant to engage independent third-party security auditors

                     and internal personnel to run automated security monitoring;

             viii.   requiring Defendant to audit, test, and train its security personnel

                     regarding any new or modified procedures; requiring Defendant to

                     segment data by, among other things, creating firewalls and access

                     controls so that if one area of Defendant’s network is compromised,

                     hackers cannot gain access to other portions of Defendant’s systems;

             ix.     requiring Defendant to conduct regular database scanning and securing

                     checks;

             x.      requiring Defendant to establish an information security training

                     program that includes at least annual information security training for

                     all employees, with additional training to be provided as appropriate

                     based upon the employees’ respective responsibilities with handling

                     personal identifying information, as well as protecting the personal

                     identifying information of Plaintiff and Class Members;

             xi.     requiring Defendant to routinely and continually conduct internal

                     training and education, and on an annual basis to inform internal

                     security personnel how to identify and contain a breach when it occurs

                     and what to do in response to a breach;

             xii.    requiring Defendant to implement a system of tests to assess its

                     respective employees’ knowledge of the education programs discussed

                     in the preceding subparagraphs, as well as randomly and periodically




                                          31

Case 3:25-cv-00023    Document 1       Filed 01/04/25      Page 31 of 33 PageID #: 31
                        testing employees’ compliance with Defendant’s policies, programs,

                        and systems for protecting personal identifying information;

                xiii.   requiring Defendant to implement, maintain, regularly review, and

                        revise as necessary a threat management program designed to

                        appropriately monitor Defendant’s information networks for threats,

                        both internal and external, and assess whether monitoring tools are

                        appropriately configured, tested, and updated;

                xiv.    requiring Defendant to implement logging and monitoring programs

                        sufficient to track traffic to and from Defendant’s servers; and

                xv.     for a period of 7 years, appointing a qualified and independent third

                        party assessor to conduct a SOC 2 Type 2 attestation on an annual basis

                        to evaluate Defendant’s compliance with the terms of the Court’s final

                        judgment, to provide such report to the Court and to counsel for the

                        class, and to report any deficiencies with compliance of the Court’s final

                        judgment;

        D.   For an award of actual damages, compensatory damages, and nominal damages,

             in an amount to be determined, and for punitive damages, as allowable by law;

        E.   For an award of attorneys’ fees and costs, and any other expenses, including

             expert witness fees;

        F.   Pre- and post-judgment interest on any amounts awarded; and

        G.   Such other and further relief as this court may deem just and proper.

                              DEMAND FOR JURY TRIAL

    Plaintiff demands a trial by jury on all issues so triable.



                                               32

Case 3:25-cv-00023        Document 1        Filed 01/04/25        Page 32 of 33 PageID #: 32
Dated: January 4, 2025                Respectfully submitted,

                                      /s/ J. Gerard Stranch, IV
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                                        33

  Case 3:25-cv-00023     Document 1   Filed 01/04/25     Page 33 of 33 PageID #: 33
